                     UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           WESTERN DIVISION

                             Civil Action No. 5:23-cv-630-FL

SONYA SHAW,                           )
                                      )
                Plaintiff,            )
                                      )
 v.                                   )
                                      )
 THE TOWN OF GARNER, RODNEY )
 DICKERSON, in his individual )
 capacity, MATT ROYLANCE, in his )
 individual  capacity,    and   B.D. )
 SECHLER, in his individual capacity, )
                                      )
                Defendants.           )




       The Court, having considered Plaintiff’s Consent Motion for an Extension of Time to

file a response to Defendants’ Motion to Dismiss and it appearing to the Court that the Motion

is supported by good cause, it is therefore ORDERED that the time to file Plaintiff’s Response

to Defendants’ Motion to Dismiss is extended up to and including February 9, 2024.



       This ____ day of ____________ 2024.


                                                  ________________________________
                                                  LOUISE W. FLANAGAN
                                                  United States District Judge




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